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                                 UNITED STATES DISTRICT COURT                    DOC #:
                               SOUTHERN DISTRICT OF NEW YORK                     DATE FILED: 9/29/2017
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BENCHMARK RATES ANTITRUST                              : No. 1:13-cv-07789-LGS
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        [PROPOSED] ORDER PRELIMINARILY APPROVING SETTLEMENT,
        CONDITIONALLY CERTIFYING THE SETTLEMENT CLASSES AND
       APPOINTING CLASS COUNSEL AND CLASS REPRESENTATIVES FOR
                       THE SETTLEMENT CLASSES
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       WHEREAS, the Action1 is pending before this Court;

       WHEREAS, Class Plaintiffs2 have entered into and executed Stipulations and Agreements

of Settlement that have been attached as Exhibit 1 of the Declaration of Christopher M. Burke and

Michael D. Hausfeld in Support of Class Plaintiffs’ Motion for Preliminary Approval of Settlement

Agreement (ECF No. 877) (the “Settlement Agreement”) with Deutsche Bank AG (together with

Class Plaintiffs, the “Settling Parties”), which, if finally approved by the Court, will result in the

settlement of all claims against Deutsche Bank AG and Deutsche Bank Securities Inc.

(collectively, “Settling Defendants”);

       WHEREAS, in full and final settlement of the claims asserted against them in this Action,

Deutsche Bank AG has agreed to pay $190,000,000 (the “Settlement Fund”) and to provide




1
         As defined in the Settlement Agreement, the “Action” means In re Foreign Exchange
Benchmark Rates Antitrust Litigation, 13 Civ. 7789, which is currently pending in the United
States District Court for the Southern District of New York and includes all actions filed in or
transferred to the United States District Court for the Southern District of New York and
consolidated thereunder and all actions that may be so transferred and consolidated in the future,
including: Taylor v. Bank of America Corp. et al. (15 Civ. 1350), Sterk v. Bank of America Corp.
et al. (15 Civ. 2705), Bakizada v. Bank of America Corp. et al. (15 Civ. 4230), Teel v. Bank of
America Corp. et al. (15 Civ. 4436) and Robert Charles Class A, L.P. v. Bank of America Corp. et
al. (15 Civ. 4926).
2
        As defined in the Settlement Agreement, “Class Plaintiffs” are: Aureus Currency Fund,
L.P.; the City of Philadelphia, Board of Pensions and Retirement; Employees’ Retirement System
of the Government of the Virgin Islands; Employees’ Retirement System of Puerto Rico Electric
Power Authority; Fresno County Employees’ Retirement Association; Haverhill Retirement
System; Oklahoma Firefighters Pension and Retirement System; State-Boston Retirement System;
Syena Global Emerging Markets Fund, LP; Systrax Corporation; Tiberius OC Fund, Ltd.; United
Food and Commercial Workers Union and Participating Food Industry Employers Tri-State
Pension Fund; and Value Recovery Fund L.L.C. (collectively, “Direct Class Plaintiffs”); J. Paul
Antonello; Marc G. Federighi; Thomas Gramatis; Doug Harvey; Izee Trading Company; John
Kerstein; Michael Melissinos; Mark Miller; Robert Miller; Richard Preschern d/b/a Preschern
Trading; Peter Rives; Michael J. Smith; Jeffrey Sterk; and Kimberly Sterk (collectively,
“Exchange-Only Class Plaintiffs”).

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reasonable cooperation in the continued prosecution of the Action as set forth in the Settlement

Agreement (the “Cooperation Provisions”);

       WHEREAS, Class Plaintiffs, having made application pursuant to Rule 23(e) of the

Federal Rules of Civil Procedure, for an order preliminarily approving the Settlement Agreement,

which sets forth the terms and conditions of the settlement of the Action against Settling

Defendants and for dismissal of the Action against Settling Defendants with prejudice upon the

terms and conditions set forth in the Settlement Agreement;

       WHEREAS, Class Plaintiffs have sought, and the Settling Defendants have agreed not to

object to, the certification of the Settlement Classes (as defined below) solely for settlement

purposes;

       WHEREAS, Class Lead Counsel have requested that they be appointed as settlement class

counsel for the Settlement Classes pursuant to Rule 23(g) of the Federal Rules of Civil Procedure;

       WHEREAS, Class Plaintiffs have requested that they be appointed class representatives of

the Settlement Classes;

       WHEREAS, the Settling Parties have agreed to the entry of this Preliminary Approval

Order (the “Order”);

       WHEREAS, the Court has considered the Settlement Agreement and other documents

submitted in connection with Class Plaintiffs’ Motion for Preliminary Approval of Settlement

Agreement with Deutsche Bank AG, certification of the Settlement Classes and appointment of

settlement class counsel and class representatives for the Settlement Classes and good cause

appearing therefor;

       NOW, THEREFORE, IT IS HEREBY ORDERED AND FOUND:




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       1.      All terms in initial capitalization used in this Order shall have the same meanings

as set forth in the Settlement Agreement, unless otherwise defined herein.

I.     PRELIMINARY APPROVAL OF SETTLEMENT AGREEMENT

       2.      Upon review of the record, the Court finds that the Settlement Agreement resulted

from arm’s-length negotiations between highly experienced counsel and fall within the range of

possible approval. Therefore, the Settlement Agreement is hereby preliminarily approved, subject

to further consideration at the Fairness Hearing described below. The Court preliminarily finds

that the settlement encompassed by the Settlement Agreement raises no obvious reasons to doubt

its fairness and provides a reasonable basis for presuming that the Settlement Agreement satisfies

the requirements of Rules 23(c)(2) and 23(e) of the Federal Rules of Civil Procedure and due

process so that an appropriate notice of the Settlement Agreement should be given, subject to the

Court’s approval of a notice plan as provided in this Order.

II.    CERTIFICATION OF THE SETTLEMENT CLASSES

       3.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court preliminarily

certifies, solely for purposes of effectuating the settlement set forth in the Settlement Agreement,

the following “Settlement Classes”:

       The Direct Settlement Class: All Persons who, between January 1, 2003 and December

       15, 2015, entered into an FX Instrument directly with a Defendant, a direct or indirect

       parent, subsidiary, or division of a Defendant, a Released Party, or co-conspirator where

       such Persons were either domiciled in the United States or its territories or, if domiciled

       outside the United States or its territories, transacted FX Instruments in the United States

       or its territories. Specifically excluded from the Direct Settlement Class are Defendants;

       Released Parties; co-conspirators; the officers, directors, or employees of any Defendant,


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Released Party, or co-conspirator; any entity in which any Defendant, Released Party or

co-conspirator has a controlling interest; any affiliate, legal representative, heir or assign

of any Defendant, Released Party or co-conspirator and any person acting on their behalf;

provided, however, that Investment Vehicles shall not be excluded from the definition of

the Direct Settlement Class. Also excluded from the Direct Settlement Class are any

judicial officer presiding over this action and the members of his/her immediate family and

judicial staff and any juror assigned to this Action.

The Exchange-Only Settlement Class: All Persons who, between January 1, 2003 and

December 15, 2015, entered into FX Exchange-Traded Instruments where such Persons

were either domiciled in the United States or its territories or, if domiciled outside the

United States or its territories, entered into FX Exchange-Traded Instruments on a U.S.

exchange.     Specifically excluded from the Exchange-Only Settlement Class are

Defendants; Released Parties; co-conspirators; the officers, directors or employees of any

Defendant, Released Party or co-conspirator; any entity in which any Defendant, Released

Party, or co-conspirator has a controlling interest; any affiliate, legal representative, heir,

or assign of any Defendant, Released Party, or co-conspirator and any person acting on

their behalf; provided, however, that Investment Vehicles shall not be excluded from the

definition of the Exchange-Only Settlement Class. Also excluded from the Exchange-Only

Settlement Class are: (i) any judicial officer presiding over this action and any member of

his/her immediate family and judicial staff, and any juror assigned to this Action; and (ii)

any Person who, between January 1, 2003 and December 15, 2015, entered into an FX

Instrument directly with a Defendant, a direct or indirect parent, subsidiary, or division of

a Defendant, a Released Party, or co-conspirator, where such Person was either domiciled


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       in the United States or its territories or, if domiciled outside the United States or its

       territories, transacted FX Instruments in the United States or its territories.

       4.      Solely for purposes of the settlement set forth in the Settlement Agreement, the

Court preliminarily finds that the requirements of Federal Rules of Civil Procedure 23(a) and

23(b)(3) have been satisfied, as follows: (a) the members of the Settlement Classes are so numerous

that joinder of all Class Members in the Action is impracticable; (b) there are questions of law and

fact common to the Settlement Classes and these common questions predominate over any

individual questions; (c) the claims of Class Plaintiffs are typical of the claims of the Settlement

Classes; (d) Class Plaintiffs and Class Lead Counsel have fairly and adequately represented and

protected the interests of the Settlement Classes; and (e) a class action is superior to other available

methods for the fair and efficient adjudication of the controversy, considering (i) the interests of

the members of the Settlement Classes in individually controlling the prosecution of separate

actions; (ii) the extent and nature of any litigation concerning the controversy already begun by

members of the Settlement Classes; (iii) the desirability or undesirability of concentrating the

litigation of these claims in this particular forum; and (iv) the likely difficulties in managing this

Action as a class action.

       5.      If the Effective Date does not occur with respect to the Settlement Agreement

because of the failure of a condition that affects the Settlement Agreement, this conditional

certification of the Settlement Classes shall be deemed null and void as to the Parties and Deutsche

Bank Securities Inc. without the need for further action by the Court or any of the Settling Parties.

In such circumstances, each of the Settling Parties and Deutsche Bank Securities Inc. shall retain

their rights to seek or to object to certification of this litigation as a class action under Rule 23 of

the Federal Rules of Civil Procedure or under any other state or federal rule, statute, law or


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provision thereof, and to contest and appeal any grant or denial of certification in this litigation or

in any other litigation on any other grounds.

III.   CLASS COUNSEL AND CLASS REPRESENTATIVES

       6.      Pursuant to Rule 23(g) of the Federal Rules of Civil Procedure, and solely for

settlement purposes, the following counsel are designated as settlement class counsel for the

Settlement Classes:

Christopher M. Burke                                   Michael D. Hausfeld
Scott+Scott, Attorneys at Law, LLP                     Hausfeld LLP
707 Broadway, Suite 1000                               1700 K Street, NW, Suite 650
San Diego, CA 92101                                    Washington, DC 20006

       7.      Direct Class Plaintiffs will serve as class representatives on behalf of the Direct

Settlement Class and Exchange-Only Class Plaintiffs will serve as class representatives on behalf

of the Exchange-Only Settlement Class.

IV.    PLAN OF DISTRIBUTION, CLASS NOTICE AND FAIRNESS HEARING

       8.      Class Lead Counsel shall submit separately for the Court’s approval a proposed

Plan of Distribution of the Settlement Fund.

       9.      Class Lead Counsel shall submit separately for the Court’s approval a notice plan

and proposed form of notice for purposes of advising members of the Settlement Classes, among

other things, of their right to object to the Settlement Agreement, their right to exclude themselves

from the Settlement Classes, the procedure for submitting a request for exclusion, the time, date

and location of the Fairness Hearing, and their right to appear at the Fairness Hearing.

V.     OTHER PROVISIONS

       10.     The Court approves Class Lead Counsel’s designation of The Garden City Group

as Claims Administrator and Rust Consulting as the agent of the Settling Defendants. Absent



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further order of the Court, the Claims Administrator and Agent of the Settling Defendants shall

have such duties and responsibilities as are set forth in the Settlement Agreement.

       11.     The Court approves the Class Lead Counsel’s designation of Huntington National

Bank as Escrow Agent. Absent further order of the Court, the Escrow Agent shall have such duties

and responsibilities in such capacity as are set forth in the Settlement Agreement.

       12.     The Court approves the establishment of an escrow account under the Settlement

Agreement as a Qualified Settlement Fund (“QSF”) pursuant to Internal Revenue Code §468B and

the Treasury Regulations promulgated thereunder, and retains continuing jurisdiction as to any

issue that may arise in connection with the formulation or administration of the QSF.

       13.     All funds held by the Escrow Agent shall be deemed and considered to be in

custodia legis and shall remain subject to the jurisdiction of the Court, until such time as such

funds shall be distributed pursuant to the Settlement Agreement and further order(s) of the Court.

       14.     All reasonable expenses incurred in identifying and notifying potential Class

Members as well as administering the Settlement Fund shall be paid as set forth in the Settlement

Agreement up to the sum of $500,000. Any such expenses in excess of $500,000 may be paid

only with the approval of the Court. In the event the Court does not approve the settlement set

forth in the Settlement Agreement, or if the Settlement Agreement otherwise fails to become

effective, neither Class Plaintiffs nor any of their counsel shall have any obligation to repay any

amounts actually and bona fide incurred or disbursed pursuant to paragraph 10(b) of the Settlement

Agreement.

       15.     If the settlement set forth in the Settlement Agreement is terminated pursuant to

such Settlement Agreement, then solely with respect to any Party to such Settlement Agreement

or Deutsche Bank Securities Inc., such Settlement Agreement (including any amendment(s)


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thereto) and this Order shall be null and void, of no further force or effect, and without prejudice

to any such Party or Deutsche Bank Securities Inc., and may not be introduced as evidence or

referred to in any actions or proceedings by any Person, and each such Party and Deutsche Bank

Securities Inc. shall be restored to his, her or its respective position as it existed prior to the

execution of such Settlement Agreement.

       16.     Except as otherwise provided herein, in the event that the Settlement Agreement is

terminated, vacated, not approved or the Effective Date fails to occur for any reason, then the

Parties to the Settlement Agreement and Deutsche Bank Securities Inc. shall each be deemed to

have reverted to their respective status in the Action as of the Execution Date and, except as

otherwise expressly provided herein, such Parties and Deutsche Bank Securities Inc. shall proceed

in all respects as if such Settlement Agreement and any related orders had not been entered, and

any portion of the Settlement Fund previously paid by or on behalf of Deutsche Bank AG, together

with any interest earned thereon (and, if applicable, re-payment of any Fee and Expense Award

referred to in paragraph 9(a) of such Settlement Agreement), less Taxes due, if any, with respect

to such income, and less costs of administration and notice actually incurred and paid or payable

from the Settlement Fund (not to exceed the dollar limit set forth in each Settlement Agreement

without the prior approval of the Court) shall be returned to Deutsche Bank AG within ten (10)

business days from the date of the event causing such termination. At the request of Deutsche

Bank’s Counsel, the Escrow Agent shall apply for any tax refund owed on the Settlement Fund

and pay the proceeds to Deutsche Bank AG.

       17.     None of the Settling Defendants, nor any of their counsel, nor any of the Released

Parties (as defined in the Settlement Agreement) shall have any responsibility for or liability

whatsoever with respect to the notice procedures; the investment, administration or distribution of


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the Settlement Fund; the Plan of Distribution; the determination, administration, calculation or

payment of any claims asserted against the Settlement Fund; or any funds held by the Escrow

Agent; the payment or withholding of Taxes; any losses incurred in connection therewith; any

application for attorneys’ fees, service awards or expenses submitted by Class Plaintiffs or counsel

for Class Plaintiffs; or any allocation of the Fee and Expense Award by Class Lead Counsel. Any

such matters will be considered separately from the fairness, reasonableness and adequacy of the

settlement set forth in the Settlement Agreement.

       18.     At or after the Fairness Hearing, the Court will determine separately whether the

Settlement Agreement, the proposed Plan of Distribution, any application for service awards and

any application for attorneys’ fees and/or expenses by counsel for Class Plaintiffs should be finally

approved.

       19.     Each of the Settling Defendants has specifically denied any liability, fault or

wrongdoing of any kind in connection with this Action and the allegations therein and as such,

neither the Settlement Agreement, nor any of its terms or provisions, nor any of the negotiations

or proceedings connected with the Settlement Agreement shall be construed as an admission or

concession of the truth of any of the allegations in the Action, or of any liability, fault or

wrongdoing of any kind by any of the Settling Defendants.

       20.     All proceedings in the Action with respect to the Settling Defendants are stayed

until further order of the Court, except as may be necessary to implement the settlement set forth

in the Settlement Agreement or comply with the terms thereof. Pending final determination of

whether the settlement set forth in the Settlement Agreement should be approved, each Class

Plaintiff and each Class Member, either directly, representatively or in any other capacity, shall be

enjoined from prosecuting in any forum any Released Claim against any of the Released Parties


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and shall not sue any of the Released Parties on the basis of any Released Claims or assist any

third party in commencing or maintaining any suit against any Released Party related in any way

to any Released Claims.

       21.     The stay of proceedings in the Action with respect to the Settling Defendants

entered by this Order shall not in any way stay matters related to discovery of the Settling

Defendants in this Action by the Non-Settling Defendants. The parties’ rights with respect to such

discovery are otherwise reserved and shall remain subject to the Court’s orders on discovery.

       22.     All Class Members shall be bound by all determinations and judgments in the

Action concerning the settlement set forth in the Settlement Agreement, whether favorable or

unfavorable to the Settlement Classes.

       23.     Any Class Member may enter an appearance in the Action, at his, her or its own

expense, individually or through counsel of his, her or its own choice. Any Class Member who

does not enter an appearance will be represented by Class Lead Counsel.

       24.     The Court’s preliminary certification of the Settlement Classes as provided herein

is without prejudice to or waiver of the rights of any defendant other than the Settling Defendants

to contest certification of any other class proposed in the Action. The Court’s findings in this Order

shall have no effect on the Court’s ruling on any motion to certify any class in the Action and no

party may cite or refer to the Court’s preliminary approval of the Settlement Classes as persuasive

or binding authority with respect to any motion to certify any such class. Further, no party may

cite or refer to the Court’s preliminary approval of the Settlement Classes to support or oppose a

motion to dismiss.




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       25.    The motion for Leave to File Excess Pages is GRANTED.

       The Clerk of Court is respectfully directed to close the motions at Docket Nos. 874 and

875.

       IT IS SO ORDERED.


DATED: New York, New York
       September 29, 2017



                                           _________________________________________
                                           HON. LORNA G. SCHOFIELD
                                           UNITED STATES DISTRICT JUDGE




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                                         EXHIBIT 1

Stipulation and Agreement of Settlement with Deutsche Bank AG
